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HI.EU 5. t -‘ »
UNITED sTATEs DISTRICT coURT " °"'
WESTERN DISTRICT OF TENNESSEE §§ Hg 1 ! 2 ,;,_, ,3

WESTERN DIvIsIoN ` ' '“`~"" 3’ e'/`
H. Kevin Ingram, on behalf of Himself)
and all others similarly situated, )
)
Plaintiff, )
)

vs. ) Case Number: 04-2717-D

)
Exxon Mobil Corporation, and )
Spencer Gifts LLC, )
)
Defendants. )

ORDER GRAN'I`ING PLAINTIFF’S MOTION FOR ENLARGEMENT
OF TIME TO RESPOND

This cause came on to be heard upon the Motion of the plaintiff, H. Kevin lngrarn,
requesting an enlargement of time to respond to defendant Exxon Mobil Corporation’s
Motion to Dismiss Plaintiff"s Arnended Class Action Comp]aint, and after reviewing the
pleadings and being otherwise fully advised, it is hereby:

ORDERED, ADIUDGED and DECREED that the plaintiffs Motion for
Enlargement of Tirne to Respond is hereby GRANTED and the plaintiff is granted a ten
(l()) day extension of time to respond to defendant Exxon Mobil Corporation’s Motion to

Dismiss Plaintifl"s Arnended Class Actjon Complaint.

ENTERED this L/A day of May 2005.

 

`:'.‘1.5 document entered on me docket sheet in compiiance 50

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CV-027l7 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

